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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                 Plaintiff,                  )
                                             )
v.                                           )
                                             )       No. 4:21CR654 SEP/NAB
LINDA MATSON,                                )
                                             )
                 Defendant.                  )

                    GOVERNMENT’S RESPONSE TO DEFENDANT’S
                     REQUEST FOR RELEASE PENDING APPEAL

       Comes now the United States of America, by and through its attorneys, Sayler A. Fleming,

United States Attorney for the Eastern District of Missouri and Tracy Lynn Berry, Assistant United

States Attorney for said district, and requests that Defendant’s motion for release pending appeal

be denied as Defendant has not raised a substantial question of law or fact.

       Defendant has been ordered to surrender to authorities at Alderson Federal Prison Camp in

Alderson, West Virginia on March 23, 2023.


                                        BACKGROUND

        On August 15, 2022, Defendant knowingly entered a plea agreement to a superseding

information. R. Doc. 53. Although the parties disagreed as to the applicability of some of the

sentencing enhancements, the parties agreed to waive their appellate rights with limited

exceptions. The plea agreement contained the following waiver:




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               The parties disagree as to Sections 2B 1.1 (b )(1 )(H), 2B1.l(b)(2)(A)(iii),
       2B1.l(b)(l0)(A), and 3Cl.1 , and will litigate those issues at sentencing. The parties
       agree to abide by the district court's determination of that issue, and specifically
       waive their rights to appeal the district court's ruling resulting in the calculation of
       the Total Offense Level. In the event the Court accepts the plea, and after
       determining the appropriate Total Offense Level, sentences the defendant within
       or below the corresponding range, then, as a part of this agreement, the
       defendant hereby waives all rights to appeal all sentencing issues other than
       Criminal History, but only if it affects the Base Offense Level or Criminal History
       Category. Similarly, the Government hereby waives all rights to appeal all
       sentencing issues other than Criminal History, provided the Court accepts the plea,
       and after determining the appropriate Total Offense Level, sentences the defendant
       within or above the corresponding range.

R. Doc. 53, 7 (emphasis added).

       This Honorable Court considered Defendant’s objections to enhancements imposed

pursuant to Sections 2B1.1(b)(1)(H), 2B1.l(b)(2)(A)(iii), 2B1.l(b)(l0)(A), and 3Cl.1 during the

sentencing hearing conducted on February 16, 2023. After considering the arguments of the

parties, this Court imposed the enhancements sought by the United States to the amount of loss,

the substantial financial hardship caused to the victim, and the relocation of the scheme to another

jurisdiction to evade law enforcement officials. The findings resulted in a determination that the

total offense level was 22 with a criminal history category I for a guideline range of 41 to 51

months incarceration. Sentencing TR. 81. Rather than impose a guideline sentence, this Honorable

Court found that a downward variance to a term of 24 months incarceration was sufficient, but not

greater than necessary, to serve the sentencing objectives. Sentencing TR. 111.


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       Despite the waiver and the downward variance granted by the Court, on March 2, 2023,

Defendant filed a notice of appeal advising that she was challenging this Court’s application of the

sentencing guidelines. R. Doc. 96, 2.

       Because Defendant waived her right to appeal “the district court's ruling resulting in the

calculation of the Total Offense Level,” the Government opposes Defendant’s motion for release

pending appeal on the ground that she has not raised a substantial question of law or fact.


                                        LEGAL STANDARD

       The standard for bond pending appeal is exacting. A defendant must be detained unless he

can overcome the presumption that his conviction is correct. Pursuant to 18 U.S.C. § 3143, the

district court must detain a defendant pending appeal unless the court finds:

     (A)    by clear and convincing evidence that the person is not likely to flee or pose a danger
            to the safety of any other person or the community if released under section 3142(b)
            or (c) of this title; and

      (B)   that the appeal is not for the purpose of delay and raises a substantial question of law
            or fact likely to result in
                (i) reversal,
                (ii) an order for a new trial,
                (iii) a sentence that does not include a term of imprisonment, or
                (iv) a reduced sentence to a term of imprisonment less than the total of the time
                 already served plus the expected duration of the appeal.

18 U.S.C. § 3143(b)(1).

       At the outset, the Government does not contend that Defendant is likely to flee or pose a

danger to the community if released. However, a similar finding cannot be reached when

considering whether Defendant’s appeal will present a substantial question of law or fact pursuant

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to § 3143(b)(1)(B). In asking this Court to allow her to remain on bond pending appeal and

requesting that the Court of Appeals of the Eighth Circuit to overturn this Court’s judgment based

upon a 1998 decision, Defendant fails to address her waiver to appeal all sentencing issues when

a sentence with-in, or below, the guideline range is imposed. R. Doc. 53, 7.


                                         ARGUMENT

       There is no “substantial question” that is likely to lead to the vacation of Defendant’s

sentence because of her waiver of her appellate rights. “As a general rule, a defendant is allowed

to waive appellate rights” when the appellate issue falls within the scope of the waiver, and the

waiver and plea agreement were entered knowingly and voluntarily. United States v. D.B., ___

F.4th ___, 2023 WL 2360843, *3-4 (March 6, 2023).

       1. Defendant’s appellate waiver was knowing and voluntary.

       When Defendant entered her guilty plea on August 15, 2022, this Court affirmed her

understanding of every aspect of the plea agreement. Plea TR. 3, 10-46. Before delving into the

details of the plea, Defendant averred that she read the plea agreement and discussed it with her

attorney. Plea TR. 11-12. Defendant also advised this Court that she understood everything that

was in the document, that the agreement contained all the promises that had been made to her, and

that she had not been threatened or pressured into pleading guilty. Plea TR. 12-13.

       Consequently, this Court’s compliance with Rule 11(b) of the Federal Rules of Criminal

Procedure presents strong evidence in favor of enforcement of the waiver. United States v.

Dewberry, 936 F.3d 803, 807 (8th Cir. 2019). By going over the plea terms and questioning




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Defendant to ensure the plea was voluntary and that it did not result from force, threats, or coercion,

this Court ensured that Defendant knowingly and voluntarily waived her appellate rights. Id.

       The Government also notes that enforcement of the appellate waiver will not result in a

miscarriage of justice. “The ‘miscarriage of justice’ exception ‘is a narrow one,’ and ordinarily

applies to prevent an appeal waiver from barring an appeal of ‘an illegal sentence, a sentence in

violation of the terms of an agreement, [or] a claim asserting ineffective assistance of

counsel.’” United States v. D.B., 2023 WL 2360843, *4 (quoting United States v. Andis, 333 F.3d

886, 891 (8th Cir. 2003) and United States v. Griffin, 668 F.3d 987, 990 (8th Cir. 2012)).

Significantly, the Eighth Circuit Court of Appeals maintains restrictions on the exception to ensure

that it “will not be allowed to swallow the general rule that waivers of appellate rights are valid.”

United States v. Andis, 333 F.3d 886, 891 (8th Cir. 2003). Because the below-guideline sentence

imposed by this Court fell within the scope of the plea agreement, Defendant cannot evade the

appellate waiver by applying the miscarriage of justice exception.


       2. Defendant’s appellate waiver forecloses her claim that the issue she seeks to raise
          on appeal presents a substantial question of fact or law.

       In light of Defendant’s knowing and voluntarily waiver, Defendant’s appeal of this Court’s

application of the sentencing guidelines does not present a substantial question of fact or law. R.

Doc. 96, 2. It is well-established that “[a]n enforceable waiver prevents [a defendant] from

showing [her] appeal presents a ‘substantial question’ under § 3143.” United States v. Mason,

2022 WL 787923, at *1 (E.D. Cal. Mar. 15, 2022) (Mason’s waiver of his right to challenge any

aspect of his guilty plea, conviction, or sentence precluded his ability to seek relief pursuant to §

3143(b)); United States v. Lisi, 2020 WL 417791, at *1-2 (S.D.N.Y. Jan. 27, 2020) (Lisi’s

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appellate waiver of any sentence within or below the applicable guideline range foreclosed any

claim regarding the existence of a substantial question of law or fact); United States v. Busseman,

2017 WL 2422853, at *2 (D. Colo. June 5, 2017) (A waiver that appears to bar an appeal on any

grounds is not likely to result in reversal, a new trial, a non-custodial sentence, or a reduction of

sentence”); United States v. Cathey, 2012 WL 1795834, at *2 (E.D. Mich. May 17, 2012) (Against

the backdrop of an appellate waiver prohibiting an appeal of Cathey’s conviction or sentence,

Cathey’s appeal does not raise a substantial question of law or fact such that release during the

pendency of the appeal would be warranted under § 3143(b)).

         In similar circumstances, the District Court for the Eastern District of Michigan found that

a defendant’s motion for release pending appeal pursuant to § 3143 is more for purpose of delay

because he waived his right to appeal. United States v. Christopher Robert Garten, 2015 WL

3814534, at *3 (S.D. Ill. June 18, 2015). The defendant in Garten agreed to the following waiver:

                [T]he Defendant knowingly and voluntarily waives the right to contest any

         aspect of this conviction and sentence that could be contested under Title 18 or Title

         28, or under any other provision of federal law, except that if the sentence imposed

         is in excess of the Sentencing Guidelines as determined by the Court (or any

         applicable statutory minimum, whichever is greater), the Defendant reserves the

         right to appeal the reasonableness of the sentence.

Id. at *2. Because the defendant failed to cite any reasonable basis for the Appellate Court to dishonor or

strike his appellate waiver, the Garten Court determined that his sole basis for appeal was a delay tactic

so he could remain on bond rather than because he sought to raise a substantial question of law or fact. Id.

at *3.

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       Similarly, Defendant raises her appellate claim solely to delay her surrender because she

knowingly and voluntarily waived her right to challenge this Court’s applicability of the sentencing

guidelines before the appellate court. Evidence of Defendant’s intent to delay is readily apparent because

the waiver Defendant entered was more detailed than that addressed in Garten. In the case at bar, the

parties agreed to abide by this Court’s determination of the contested issues, “and specifically waive[d]

their rights to appeal the district court’s ruling resulting in the calculation of the Total Offense Level.” R.

Doc. 53, 7. By ignoring the unambiguous waiver of her appellate rights, “[Defendant’s] appeal is clearly

more for purposes of delay than to raise a substantial question of law or fact.” United States v. Christopher

Robert Garten, 2015 WL 3814534, at *3.

       Accordingly, Defendant’s motion for release pending appeal should be denied as she fails to

demonstrate that the appeal is not for the purpose of delay, and has not raised a substantial question of law

or fact likely to result in a reversal of the below-guideline 24-month sentence imposed by this Court.

                                               Respectfully submitted,

                                               SAYLER A. FLEMING
                                               United States Attorney

                                               s/ Tracy Lynn Berry
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                                CERTIFICATE OF SERVICE

       I, TRACY L. BERRY, Assistant United States Attorney for the Eastern District of

Missouri, hereby certify that a copy of the foregoing pleading has been sent through the court=s

electronic case filing system to counsel for the defendant this the 15th day of March 2023.

                                             s/ Tracy L. Berry
                                             TRACY L. BERRY
                                             Assistant United States Attorney




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